Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 1 of 34

Ivaylo Tsvetanov Dodev,

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Pro Se

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OCT 23 2013
CLERK US DISTRICT COURT

STRICT OF ARI
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IN THE UNITED STATES DISTRICT COURT.
FOR THE DISTRICT OF ARIZONA

Ivaylo Tsvetanov Dodev,
Plaintiff,
VS.

RECONTRUST COMPANY, N.A.,
JAMES F. TAYLOR, and/or his successor,
in his/their individual and official capacity,
SELECT PORTFOLIO SERVICING,
INC.,
MATT HOLLINGSWORTH, and/or his
successor, in his/their individual and official
capacity,
BANK OF NEW YORK MELLON, N.A.,
GERALD HASSELL, and/or his successor,
in his/their individual and official capacity,
BANK OF AMERICA, N.A. successor of
COUNTRYWIDE HOME LOANS, INC.,
BRIAN T. MOYNIHAN, and/or his
successor, in his/their individual and official
capacity, and
DOES 1-100, in his/her individual and
official capacity

Defendants.

CaseNo.  ¢y-13.02155-PHX-GMS

VERIFIED ACTION-AT-LAW TO
QUIET TITLE
AND
DAMAGES UNDER FDCPA
AND
BREACH OF CONTRACT
AND
RICO

A TRIAL BY JURY DEMANDED

Judge:

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 2 of 34

VERIFIED ACTION-AT-LAW TO QUIET TITLE AND MONEY DAMAGES
RICO and 15 U.S.C. 1692, et. seq.

Plaintiff, IVAYLO TSVETANOV DODEYV, sues defendants RECONTRUST
COMPANY, N.A. and their PRESIDENT, JAMES F. TAYLOR, and/or his
successor, in his/their individual and official capacity, SELECT PORTFOLIO
SERVICING, INC. and their CEO, MATT HOLLINGSWORTH, and/or his
successor, in his/their individual and official capacity, BANK OF NEW YORK
MELLON, N.A. and their CEO, GERALD HASSELL, and/or his successor, in
his/their individual and official capacity, BANK OF AMERICA, N.A. successor of
COUNTRYWIDE HOME LOANS, INC. and their CEO, BRIAN T. MOYNIHAN,
and/or his successor, in his/their individual and official capacity, DOE 1 through
DOE 20, and for his complaint alleges:

I
SEVENTH-AMENDMENT TRIAL BY JURY IS DEMANDED

It is the lawful intent of the Plaintiff herein to invoke the American Law of the
Land and its Common-Law Jurisdiction - Court of Record (on the record), where a
Seventh-Amendment, constitutionally valid, Common-Law Trial BY Jury of Peers
will Judge BOTH the Law and the Fact, as established in the historic American
System of Checks and Balances as originally provided by the American Founding
Fathers to judge against bad laws. An Administrative-Law advisory Jury Trial, is thus
hereby rejected. If this Honorable Court is ‘not able to provide such a Seventh-

Amendment constitutionally valid Common-Law Trial BY Jury, the Plaintiff herein

respectfully demands that the instant ACTION-AT-LAW be transferred to such a

Seventh Amendment, Common-Law, constitutionally valid Court of Record.

Il
JURISDICTION

The jurisdiction of this Court is pursuant to 28 U.S.C. 1331 (federal question),
15 U.S.C. 1692 (d)(fair debt collection practices act), 28 USC 1367 (pendent state
-2-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 3 of 34

claims), 18 USC § 1341, 31 USC § 3729(a) and ARS § 12-1101, A.R.S. § 33-420(a),
A.R.S. § 33-420(c) and Bill of Rights in particular Amendment I, V, VII and XIV.
This is a VERIFIED ACTION-AT-LAW TO QUIET TITLE AND MONEY
DAMAGES.

Il
VENUE

Venue is pursuant to 28 U.S.C. 1391(b)(2), (c) and (d). Venue lies in the
District of Arizona as the claims arose from acts of the Defendants perpetrated

therein.

IV
NATURE OF THE ACTION

This is a complaint for quieting the title of the Plaintiff's homestead and money
damages. Defendant BANK OF AMERICA, NATIONAL ASSOCIATION
(hereinafter “Bank of America”) was the agent and the mortgage loan servicer of
Defendant BANK OF NEW YORK MELLON, NATIONAL ASSOCIATION
(hereinafter “BNY Mellon”) for the purpose of collecting a mortgage loan debt
allegedly owed by Plaintiff. Defendant RECON TRUST COMPANY, NATIONAL
ASSOCIATION (hereinafter “ReconTrust”) is the Trustee of the alleged debt sold by
Bank of America, upon being duly discharged, to Defendant SELECT PORTFOLIO
SERVING, INCORPORATED (hereinafter “SPS”). Defendant BRIAN T.
MOYNIHAN, CEO of Bank of America (hereinafter “Brian Moynihan”), Defendant
GERALD HASSELL, CEO of BNY Mellon (hereinafter “Gerald Hassell”),
Defendant JAMES F. TAYLOR PRESIDENT of ReconTrust (hereinafter “James
Taylor”) and Defendant MATT HOLLINGSWORTH, CEO of SPS (hereinafter “Matt
Hollingsworth”) and/or their successor, in their individual and official capacity have
tacitly admitted that THEY are attempting to steal Plaintiff's home through theft by
deception or larceny by trickery.

Case 2:13-cv-02155-DLR Document1_ Filed 10/23/13 Page 4 of 34

BNY Meilon through SPS have recorded a Notice of Trustee Sale (hereinafter
“NTS”) #20110706281in the Office of the Maricopa County Recorder with Trustee
Sale (hereinafter “TS”) # XX-XXXXXXX, the same TS number that Defendant Bank of
America used for recording a NTS on August 24, 2011 and after duly challenged,
canceled the recorded NTS on March 19, 2013 and issued a settlement check to the
Plaintiff fora WRONGFUL FORECLOSURE attempt (See EXHIBIT “A” for NTS,
C/NTS and settlement check).

Defendants have communicated with the Plaintiff via telephone calls and by

sending misleading dunning letters in an effort to collect/modify a debt, duly

discharged through Bankruptcy Proceedings, Case No. 2-09-bk-00043-CGC and
challenged under direct dispute per FCRA §623(a)(8)(D), 16 CFR 660.4 and Arizona
Administrative Code R20-4-1521and A.R.S § 33-811(C).

Vv
PARTIES

Ivaylo Tsvetanov Dodev is the Plaintiffs at this VERIFIED ACTION-AT-
LAW TO QUIET TITLE AND MONEY DAMAGES.

The Plaintiff is the legal titleholder and is in possession of the subject private
property located at 6312 South 161* Way, Gilbert, Arizona, Maricopa County.
Recorded in the Office of the Maricopa County Recorder on June 26, 2004 as
Warranty Deed, under recording No.: 20040852027; The Plaintiff has a secured and
valid interest in the subject private property for over $1,000,000 (one million dollars)
(See EXHIBIT “B”); The plaintiff is paying his taxes on the subject land (See
EXHIBIT “C”); The Plaintiff is paying his property insurance (See EXHIBIT “D”).

Defendants Bank of America and Brian Moynihan, with primary place of
business: 100 North Tryon Street Charlotte, North Carolina, have sold a discharged
debt to SPS without proper recordation and transfer.

Defendants BNY Mellon and Gerald Hassell, with primary place of business:
Bank of New York Mellon, One Wall Street, New York, New York, are trustee of a

-4-

Case 2:13-cv-02155-DLR Document1 _ Filed 10/23/13 Page 5 of 34

security instrument associated with Plaintiff's property; CWALT, INC.,
ALTERNATIVE LOAN TRUST 2007-OA7, MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2007-OA7. Plaintiff's alleged mortgage was transferred to
the ALTERNATIVE LOAN TRUST 2007-OA7, after the close date in violation of
the POOLING AND SERVICING AGREEMENT (hereinafter PSA) rendering it
VOID (see Glaski v. Bank of America, N.A.: Case No. F064556)

Defendants SPS and Matt Hollingsworth, with primary place of business: 3815
South West Temple, Salt Lake City, Utah, have recorded a foreclosure sale on
Plaintiff's property without standing, violating the Fed. R. Civ. P. 17 and Arizona
Revised Statues (hereinafter A.R.S.) in particular A.R.S.§ 33-420(A), 47-
1201(B)(21)(a), 47-3301, his VII and XIV Amendment Rights from the Bill of
Rights.

Defendants ReconTrust and James Taylor, with primary place of business:
7105 Corporate Drive, Plano, Texas, have recorded foreclosure sale on Plaintiff's
property for BNY Mellon and SPS without standing, violating the A.R.S. in
particular A.R.S. § 33-420(A), his VII and XIV Amendment Rights from the Bill of
Rights.

DOE 1 David M. Gregory, Assistant Vice President of BNY Mellon is an
unknown type of entity, signer on Substitution of Trustee, Maricopa County Recorder,
Instrument number 20110706280

DOE 2 Kanetta Denise Edwards, Notary Public, State of Texas is an unknown
type of entity, signer on Corporate Assignment of Deed of Trust, Substitution of
Trustee and Notice of Trustee Sale, Maricopa County Recorder, Instrument numbers:
20110706280, 20110706279 and 20110706281

DOE 3 Carmelia Boone, Assistant Secretary of Mortgage Electronic
Registration System, Inc. (hereinafter “MERS”) is an unknown type of entity, signer
on Corporation Assignment of Deed of Trust, Maricopa County Recorder, Instrument

No.: 201 10706279, known name in the “robo signer” speedy foreclosure shop.

-5-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 6 of 34

DOE 4 Courtney Magnarella for Blank Rome, LLP is an unknown type of
entity, signer for Bank of America attorney.

DOE 5 Karla Richards, Consumer Ombudsman Specialist is an unknown type
of entity, signer for SPS.

DOE 6 Dani Todd, Consumer Ombudsman Specialist is an unknown type of
entity, signer for SPS.

DOE 7 KaJay Williams, Consumer Ombudsman Specialist is an unknown type
of entity, signer for SPS.

DOE 8 —DOE 100 are unknown type of entities.

The defendants herein named as “all persons unknown, claiming any legal or
equitable right, title, estate, lien, or interest in the private land described in this Action
adverse to plaintiff's title, or any cloud on plaintiffs title thereto” (hereinafter
sometimes referred to as “the unknown defendants”) are unknown to plaintiff.

Plaintiff is ignorant to the true names and capacities of defendants sued herein
as DOES 1 — 100, and therefore sues these defendants by such fictitious names.
Plaintiff will amend this ACTION-AT-LAW to allege their true names and capacities
when ascertained. Plaintiff is informed and believes, and thereon alleges that each of
these fictitiously named defendants, claim some right, title, estate, lien, or interest in
the hereinafter described private land adverse to plaintiff's title; and their claims, and

each of them, constitute a cloud on plaintiff's title to the subject private land.

VI
DECLARATION OF FACTS

Plaintiff, Ivaylo Tsvetanov Dodev, is the sole owner of the private landed estate,

with the following meets and bounds:

Commencing at the Southwest corner of Section 22;

Thence North 90 degrees 00 minutes 00 seconds East, a distance of 1284.85 feet;
Thence North 00 degrees 00 minutes 00 seconds East, a distance of 415.05 feet;
Thence South 90 degrees 00 minutes 00 seconds West, a distance of 193.02 feet
to the point of beginning;

Thence South 90 degrees 00 minutes 00 seconds West, a distance of 367.57 feet;

-6-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 7 of 34

Thence North 00 degrees 03 minutes 42 seconds East, a distance of 9.56 feet;
Thence North 18 degrees 49 minutes 40 seconds East, a distance of 266.94 feet;
Thence North 90 degrees 00 minutes 00 seconds East, a distance of 279.44 feet;
Thence South 00 degrees 25 minutes 50 seconds East, a distance of 262.23 feet to
the point of beginning.

Commonly known as 6312 South 161" Way, Gilbert, Arizona.

The basis of plaintiff's title is a Deed from Justin C. Franks and Daidria (Howe)
Franks, who were Successors of All Original Land Patent Rights, Title, and Interest
held by the Santa Fe Pacific Railroad Company granting the above-described interest
in the subject private land in Allodium to Ivaylo T Dodev and Nikolina T Dodev,
dated July 16, 2004, by Warranty Deed recorded as Document No. 20040852027 (See
EXHIBIT “E”) with its own attachments) and recorded in the Official Records of
Maricopa County Recorder, Arizona State.

Plaintiff has possessed of the above-described private land for nine years and
four months as of the commencement of this ACTION-AT-LAW.

Plaintiff is now seeking to quiet title against any claims of BNY Mellon, First
Magnus Financial Corporation, SPS, Bank of America successor of Countrywide
Home Loans, ReconTrust, and all others as there may be, as Plaintiff is in lawful
possession of documentation that irrefutably indicates that the subject loan—even if
loan was ever originated—was paid in full as a matter of well-settled American Law
and Jurisprudence.

Now, defendants BNY Mellon, SPS and ReconTrust have instituted a
Foreclosure proceeding, without standing,’ (GMAC v. Weisband, Arizona, March
2010, Case No. 4:09-bk-05175-EWH) based on fraudulent documents in which they
claim to have a security interest when it can be proved on the record that they do not.

The security instrument created by delinking the Promissory Note from the Trust

' Bank of NY Mellon Trust Co. v. Shaffer, Case No. 2011-G-3051 (Ohio-2013), Focht
v. Wells Fargo, NA, Case No. 2D11-4511, 2D11-4980 (FL — 2013), Wells Fargo Bank,
N.A., 80 AD3d 753, 915 N.Y.S.2d 569 (2d Dept 2011); Argent Mtge. Co., LLC v.
Mentesana, 79 AD3d 1079, 915 N.Y.S.2d 591 (2d Dept 2010); Campaign v Barba, 23
AD3d 327, 805 NYS2d 86 (2nd Dept 2005)

-7-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 8 of 34

Deed made the alleged debt unsecured— there is no property backing the securities.
What this means is that Trust Deed is void and null and foreclosure is not legally
possible.' Their attempt to foreclose is illegal seizure of property — home theft by
using the Maricopa County Recorder and USPS as accessory to crime. The Plaintiff
summaries on the record that this is not a primary argument in this litigation, although
he is fully aware, along with the rest of America’s Legal System, that MERS? clouds
and breaks the chain of title to all mortgages assigned through them. He has made a
good faith effort to work with all Defendants in attempt to clear the Title to his estate
prior seeking relief and restitution through this ACTION-AT-LAW

None of the named Defendants are a true HOLDER-IN-DUE-COURSE? of the
Original, lawfully endorsed, Promissory Note AND Trust Deed, and this ACTION-
AT-LAW will prove that they ALL have forfeited to establish standing AND/OR
ownership through lawful means. The defendants Bank of America, BNY Mellon,
SPS, ReconTrust, Gerald Hassell, Matt Hollingsworth, James Taylor, David M.
Gregory, DOE 1 through 20, have coerced to steal by deception Plaintiff’s house and
harassed him over the course of five (5) years in an attempt to collect/extort or modify
debt that has been lawfully discharged and paid in full, in violation of countless State
and Federal Laws, committing numerous counts of felonies.

As a result of their action, Plaintiff has lost gainful employment and is living in

constant fear of being unlawfully removed from his homestead, WITHOUT DUE

' Carpenter v. Longan - 83 U.S. 271 (1872), Walker v. Citibank. CA Eastern District
Bankruptcy Court, 2010, Case no. 10-21656-E-11

? A “cloud” on legal title includes any deed, contract, judgment lien or other instrument,
not void on its face, that purports to convey an interest in or makes any charge upon the
land of the true owner, the invalidity of which would require proof. Wright v. Matthews,
26 S.W.3d 575, 578 (Tex. App. - Beaumont 2000, pet. denied). A suit to quiet title
“‘enable[s] the holder of the feeblest equity to remove from his way to legal title any
unlawful hindrance having the appearance of better right.’” Florey, 212 S.W.3d at 448
(quoting Thomson v. Locke, 1 §.W.112, 115 (Tex. 1886))

> US Bank, N.A v. Madero 80 AD3d 751, 752 [2011]; U.S. Bank, N.A. v. Collymore
68 AD3d 752-754 [2009]; BNY v. Silverberg, 86 AD3d 280-283; Aurora Loan Serve.
LLC v. Weisblum, 85 AD3d 109; Bankers Trust v. Nagler, 229 NYS 2d 142, 143

-8-

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Case 2:13-cv-02155-DLR Document1_ Filed 10/23/13 Page 9 of 34

PROCESS, of which he is in possession, with true title of ownership in fee simple,
and as a result his health has gravely deteriorated and irreparable damages have
transpired to his welfare and family affairs.

The Defendants are “debt collectors” within the meaning of 15 U.S.C. § 1601
et. seq., and in particular, 15 U.S.C. Section § 1692a(6) in that they used the U.S.
Mails in a business whose primary purpose is the collection of debts.

“If [the Fair Debt Collection Practices Act] is not enacted, Congress will then
be classifying as ‘deadbeats’ those individuals who through no fault or action of their
own are being harassed, hounded, threatened and intimidated by debt collectors.”
H.R. Rep.

No. 131, 95th Cong. Ist Sess. 9 (1977). Congress did enact the FDCPA,
however, effectuating its intention to prohibit precisely this kind of misclassification
and harassment by parties who present themselves as Servicers and debt collectors
simultaneously.

Under the FDCPA, a “debt collector” is defined as:

any person who uses any instrumentality of interstate commerce or the
mails in any business the principal purpose of which is the collection of
any debts, or who regularly collects or attempts to collect, directly or
indirectly, debts owed or due or asserted to be owed or due another.
Notwithstanding the exclusion provided by clause (F) of the last sentence
of this paragraph, the term includes any creditor who, in the process of
collecting his own debts, uses any name other than his own which would
indicate that a third person is collecting or attempting to collect such
debts. . . . The term does not include --

(F) any person collecting or attempting to collect any debt owed or due
or asserted to be owed or due another to the extent such activity (i) is
incidental to a bona fide fiduciary obligation or a bona fide escrow
arrangement; . . . [or] (iii) concerns a debt which was not in default at the
time it was obtained by such person....

15 U.S.C. § 1692a(6)

As noted by other courts, that “as to a specific debt, one cannot be both a
‘creditor/servicer’ and a ‘debt collector,’ as defined in the FDCPA, because those
terms are mutually exclusive.” FTC v. Check Investors, Inc., 502 F.3d 159, 173 (3d

-9-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 10 of 34

Cir. 2007) citing Schlosser v. Fairbanks Capital Corp., 323 F.3d 534, 536 (7th Cir.
2003)); cf. Montgomery v. Huntington Bank, 346 F.3d 693, 698 (6th Cir. 2003).
(holding the definition of debt collector “does not include the consumer’s creditors”)

If an entity that acquires a debt and seeks to collect it cannot be both a creditor
and a debt collector, can it be neither? We answer no. To allow such an entity to
define itself out of either category would mean that the intended protection of the
FDCPA is unavailable. Both the statutory language and legislative history of the
FDCPA establish that such an entity is either a creditor (servicer) or a debt collector
and its collection activities are covered under the FDCPA accordingly.

The distinction between a creditor and a debt collector lies precisely in the
language of § 1692a(6)(F)(iii). For an entity that did not originate the debt in question
but acquired it and attempts to collect on it, that entity is either a creditor or a debt
collector depending on the default status of the debt at the time it was acquired. The
same is true of a loan servicer, which can either stand in the shoes of a creditor or
become a debt collector, depending on whether the debt was assigned for servicing
before the default or alleged default occurred. Wadlington v. Credit Acceptance
Corp., 76 F.3d 103, 106-8 (6th Cir. 1996); see also Perry v. Stewart Title Co., 756
F.2d 1197, 1208 (Sth Cir. 1985). This interpretation of the Act is supported by
Congress’s intent in passing it.

Bank of America, successor of Countrywide Home Loans, being fully aware of
Plaintiff's Chapter 7 Bankruptcy and discharge of the alleged debt continued to solicit
and harass him in bad faith via phone calls and letters for about three (3) years after
the fact. Plaintiff is in possession of many Monthly Statements, Payment Adjustment
Notices and Loan Modifications mailers where Bank of America does not identify the
debt as discharged, in violation of FDCPA. Effective October 16, 2012, Bank of
America, not being a HOLDER-IN-DUE-COURSE, sold the discharged debt to SPS

without any warrants or guarantee; also known as “zombie” debt. Plaintiff strongly

-10-

Case 2:13-cv-02155-DLR Document1 — Filed 10/23/13 Page 11 of 34

believes that his Constitutional Rights and especially Amendment V have been
violated by this action, along with the FDCPA.

SPS, upon acquiring the debt from Bank of America immediately attempted to
modify it into more affordable terms (debt) while threatening that “things will end up
badly if the debt is not paid” - alleging that if you borrow money you have to pay.
After unsuccessful attempt to re-contract with the Plaintiff, on August 02, 2013, the
Defendants recorded NTS, No. 20130709557 in Maricopa County Recorder, which
the Plaintiff timely rebutted by sending NOTICE TO SUE via COURT
PROCESSORS to all Defendants—included in this Verified Action-At-Law—
REBUTTING the alleged debt ONCE again. (See EXHIBIT “F’”).

Now, for a second time they are using fraudulent transfers and documents,
recorded in the public record, and the USPS as accessory to their crime, tarnishing the
reputation of the Plaintiff while causing unimaginable anguish to him and his family
over the course of 5 years and counting. Plaintiff developed symptoms of ostracism
from his friends and society in general which lead to a loss of millions of dollars of
potential income, heart attack hospitalization, ulcers, constant headaches, depression,
sleep apnea, heart palpitation, high blood pressure, multiple micro-strokes, skin rush
and alcoholism . He closed-up to the surrounding world and none of his friends are
even aware of his relentless fight with the Defendants in endeavor to keep a roof over
his family - not even his own children, until recently.

All of the above in gross violation of the laws of this State and the United States
of America by the Defendants. Furthermore, Defendants have displayed an
unwillingness to follow a lawful demand for validation of the debt, addressed by
Plaintiff via Proof of Claim (See EXHIBIT “G”). They have even rejecting
$800,000.00 in cash in exchange of the alleged Promissory Note and Deed of Trust,
so that Plaintiff will be assured that no other party will come and try to collect on
discharged debt after them (See EXHIBIT “H”), prolonging his anguish and metal

distress.

-ll-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 12 of 34

The Defendants have established a pattern: harass and steal through GRAND
THEFT without fear of lawful repercussions. Blinded by greed and starving to devour
another man’s house, they have violated even the A.R.S., in particular A.R.S. §33-
809(C), where the Plaintiff received the NTS in the mail more than a month after
being recorded, versus the 5 days required by law, along with A.R.S. § 33-420(A),
his VII and XIV Amendments from the Bill of Rights.

“Capital must protect itself in every way... Debts must be collected and
loans and mortgages foreclosed as soon as possible. When through a
process of law the common people have lost their homes, they will be more
tractable and more easily governed by the strong arm of the law applied by
the central power of leading financiers. People without homes will not
quarrel with their leaders. This is well known among our principle men
now engaged in forming an imperialism of capitalism to govern the world.
By dividing the people we can get them to expend their energies in fighting
over questions of no importance to us except as teachers of the common
herd.” - The Bankers Manifesto of 1934

Plaintiff has expended all of his time (5 years), money, sweat equity and energy

defending his house from the unlawful grand theft committed by the Defendant’s,
prior to this ACTION-AT-LAW.

vil
GOOD-FAITH OFFERS TO PAY IGNORED
See EXHIBIT “H”
By Certified Mail No.: 23110770000047322126, 23110770000047322096,

23110770000047322140, 23110770000047322102, 23110770000047322157,
23110770000047322119 and 23110770000047322133, dated January 14, 2013
Plaintiff made his original GOOD-FAITH OFFER TO PAY THE ENTIRE
AMOUNT DUE, to all DEFENDANTS, which was neither accepted nor rejected
according to the mandates of well-settled American Law and Jurisprudence, which
caused the alleged Loan to be completely and totally Discharged.

By Certified Mail No.: 23110770000047323628, 23110770000047323635,
23110770000047323642, 23110770000047323659, 23110770000047323666 and

-12-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 13 of 34

23110770000047323673, dated January 31, 2013, Plaintiff presented his original
NOTICE OF DEFAULT AND OPPORTUNITY TO CURE WITH ANOTHER
GOOD-FAITH OFFER TO PAY THE ENTIRE AMOUNT DUE, this time
requesting a Verified Accounting, and to know where to personally bring the legal
tender cash in order to trade it for and to retrieve the original lawfully endorsed
Promissory Note and Trust Deed in order to complete the original contracted
transaction. This communication was also neither accepted nor rejected according to
the mandates of well-settled American Law and Jurisprudence, which caused any part
of the alleged Loan that was reinstated by the subject NOTICE OF DEFAULT AND
OPPORTUNITY TO CURE to be completely and totally Discharged, AGAIN.

By Certified Mail No.: 23110770000047323819, 23110770000047323857,
23110770000047323864, 23110770000047323840, 23110770000047323871,
23110770000047323833 and 23110770000047323826, dated February 19, 2013,
Plaintiff presented his original NOTICE OF DEFAULT AND OPPORTUNITY TO
CURE WITH ANOTHER GOOD-FAITH OFFER TO PAY THE ENTIRE
AMOUNT DUE, this time requesting a Verified Accounting, and to know where to
personally bring the legal tender cash in order to trade it for and to retrieve the
original lawfully endorsed Promissory Note and Trust Deed in order to complete the
original contracted transaction. This communication was also neither accepted nor
rejected according to the mandates of well-settled American Law and Jurisprudence,
which caused any part of the alleged Loan that was reinstated by the subject NOTICE
OF DEFAULT AND OPPORTUNITY TO CURE to be completely and totally
Discharged, AGAIN.

By Certified Mail No.: 9505510219393064491628, 95055 10219393064491970,
9505510219393064492182, 9505510219393064492366, 95055 10219393064492564,
9505510219393064492755, 9505510219393064492946 and 95055102193930644
93158, dated March 5, 2013, Plaintiff presented his original NOTICE OF DEFAULT
AND OPPORTUNITY TO CURE WITH ANOTHER GOOD-FAITH OFFER TO

-13-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 14 of 34

PAY THE ENTIRE AMOUNT DUE, this time requesting a Verified Accounting, and
to know where to personally bring the legal tender cash in order to trade it for and to
retrieve the original lawfully endorsed Promissory Note and Trust Deed in order to
complete the original contracted transaction. This communication was also neither
accepted nor rejected according to the mandates of well-settled American Law and
Jurisprudence, which caused any part of the alleged Loan that was reinstated by the
subject NOTICE OF DEFAULT AND OPPORTUNITY TO CURE to be completely
and totally Discharged, AGAIN.

Besides the Prima Facie evidence that the original debt was legally discharged
through Bankruptcy Proceedings, Case No. 2-09-bk-00043-CGC, being subjected to
relentless pressure and fear of being deprived from his PROPERTY without DUE
PROCESS by the DEFENDANTS, the Plaintiff made FOUR GOOD-FAITH
OFFERS TO PAY THE ENTIRE AMOUNT DUE, under the FRCP, on which the
Defendants defaulted, leading him to believe that their intent is malicious, seeking to
take his property THROUGH THEFT BY DECEPTION OR LARCENY BY
TRICKERY, both of which are felonies.

Furthermore, on July 2, 2013, the Plaintiff directed a request via PROOF OF
CLAIM under FDCPA §809 and Arizona Administrative Code R20-4-1514, to SPS to
validate the alleged debt, followed by a second demand and default, sent by certified
mail NO.: 23110770000057409879, delivered to them on August 8, 2013, (see
EXHIBIT “G”) to which they tacitly admitted by estoppel that SPS do not have a
Bona Fide Proof of Contract that BINDS me, the Plaintiff, to perform under Deed of
Trust recorded on December 12, 2006, as Instrument Number 20061646998 in the
Office of the Maricopa County Recorder, to which they claim to be a Servicer,
contradicting the fact that they are a debt collector, violating UCC § 3-301 PETE!
(“person entitled to enforce the note”), afflicting harassment under sec. 806 of the
FDCPA, being liable under FDCPA 813(2)(a)(b)(3).

' Morgan v. Farmers Merchs. Bank, 856 So. 2d 811, 819 (Ala. 2003).
-14-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 15 of 34

Vill
FRAUD AND BREACH OF CONTRACT

On December 12, 2006, Plaintiff signed an Adjustable Rate Note (The

Promissory Note) and a Trust Deed on what purported to be a mortgage with FIRST
MAGNUS FINANCIAL CORPORATION, recorded under instrument No.:
20061646998 in Maricopa County Recorder (See EXHIBIT “I”). The Trust Deed
lacks proper assignment of Trustee: (D) (of the aforementioned Deed) “Trustee” is
“BLANK”. A Trust Deed is supposed to be three party contract; there is only one
party, First Magnus Financial Corporation. The other two parties cannot be a party of
the contract, there is no one listed as a Trustee, thus the Deed of Trust had NO
TRUSTEE, and MERS cannot be a party to the contract, which renders that Deed of
Trust VOID AB INITIO. Plaintiff has revoked the DOT for lack of lawful execution
(See EXHIBIT “J”).

The Plaintiff is filing on the record, copy of the original (see EXHIBIT “K”)
Adjustable Rate Note (The Promissory Note), lacking endorsements, transfers or
assignments stamped on the note as required per law in the event of an assignment to
a new holder, making this Promissory Note a fraudulent document, and thus null and
VOID AB INITIO.. The law states that transfer stamps and endorsements must be
on the note or Allonge if there are any transfers, along with a proper recording of
these transfers through the County Recorder, which there are none. (A.R.S. § 47-
3204; see also In re Nash, 49 B.R. 254, 261 (Bankr. D. Ariz. 1985)). There are no
legal Assignment of Deed of Trust to BNY Mellon , AKA THE BANK OF NEW
YORK AS TRUSTEE FOR THE CERTIFICATE HOLDERS OF CWALLT, INC.,
ALTERNATIVE LOAN TRUST 2007-OA7, MORTGAGE PASS-THROUGH
CERTIFICATES, SERIES 2007-OA7, making the Deed of Trust NULL AND
VOID.

It is also self-evident that my Adjustable Rate Note has been separated from
my Deed of Trust from the inception of the purported loan in order to create the
SECURITY, which renders it VOID AB INITIO. “So, if ‘the mortgage follows the

-15-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 16 of 34

note’ has any meaning in the context of today’s routine banking practice of splitting
ownership of the note (often reposed in a securitized trust) from the right to enforce it
as its holder, it could only be that the equitable right to enforce the lien follows the
ownership of the note, not mere possession. That equitable right must be proven with
evidence of a delivery with the intent to transfer ownership of both the note and the
lien.” - Pino v. BNY Mellon, CASE NO.: SC11-697.

The fraudulent activities continued when Bank of America recorded:
Assignment of Deed of Trust, Substitution of Trustee and NTS, all recorded on the
same day, August 24, 2011, in order to initiate foreclosure process, all fraudulently
signed and filed on the land record through Maricopa County Recorder’s Office. A
known “robo-signer”, David M. Gregory, signed as the Assistant Vice President of
BNY Mellon, creating fraudulent Substitution of Trustee on the purported loan and
note, and Kanetta Denise Edwards, the Robo-Signing notary, confirmed David M.
Gregory’s identity and that he was the Assistant Vice President of BNY Mellon,
which he has never been employed by. Both are in fact employees of the Substitute
Trustee, ReconTrust, and ReconTrust is a subsidiary of Bank of America, which
creates a conflict of interest along with breaking countless laws, rendering the whole
process NULL AND VOID.

The same issue occurs on the Corporation Assignment of Deed of Trust where
Carmelia Boone Robo-Signed this document as the Assistant Secretary to MERS,
though MERS' had no beneficial interest or authority to allow anyone the right to
create this fraudulent document signed by the same Notary. Again, both people are
employees of the Substitute Trustee, ReconTrust and both forged their names to a
fraudulently created document to further their ability to foreclose illegally for their
clients Bank of America and BNY Mellon. In order for the new Beneficiary named
on the Assignment to legally Substitute a Trustee, the Corporate Assignment had to be

conducted lawfully, otherwise the Substitution of Trustee would be void and original

'MERS v. Groves, (Case NO. 14-10-00090-CV, April 2011)
-16-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 17 of 34

Trustee would be trying to foreclose. In addition, there was no original Trustee to
substitute in the first place thus the Deed of Trust was in error, making it NULL AND
VOID.

The same issue occurs on the initial 2011 NTS, dated and recorded on the same
date as the other two documents above. Tammy Thompson, as trustee for
ReconTrust, fraudulently signed this document as well, with the same Robo-Notary
signing it as well. The four above signers on the recorded documents, who all work
for ReconTrust, committed forgery and perjury in violation of SEC, IRS, et. Seq.

CONTRACTUAL FRAUD
The Law of Contracts* Requires These Elements OR The Contract Is Void

1. Offer by person qualified to make the contract.

2. Acceptance by party qualified to make and accept the contract.

3. Bargain or agreement and full disclosure and complete understanding by

both parties.

4. Consideration given.

5. Must have the element of time to make the contract lawful.

6. Both parties must be sui juris; that is, of lawful age, usually 21 years old.

*Contracts, by John Calamari and Joseph Perillo, West Publishing

Company, St. Paul, Minnesota 55102

The bank offered: unconscionable bargain or contract defined by Black’s law
as “which no man in his senses, not under delusion, would make on the one hand, and
which no fair and honest man would accept, on the other." Plaintiff was led to
believe (intentionally mislead) that he entered into a binding contract upon signing the
Deed of Trust and the Adjustable Rate Note, NOT KNOWING that he will be the
only signer on said instrument, what was purported to be a contract between two
parties, borrower and lender, “for the money that he has (already) received” the
FACT the his signature will create new money of account was not EVER disclosed to
him. He signed in good faith, believing that he is receiving a LOAN (Delivery by one

party to, and receipt by another party, a SUM OF MONEY upon agreement, express

-17-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 18 of 34

or implied, to repay it with or without interest)’, and the WELL ESTABLISHED
FACT that banks cannot lend their own credit” was never disclosed to him, inhibiting
his ability to make a cautious CONSIDERATION: - The inducement to a contract.
The cause, motive, price or impelling influences, which induces a contracting, party to
enter into a contract. The reason, or material cause of a contract. The purported loan
became VOID AB INITIO because the FIRST MAGNUS FINANCIAL
CORPORATION have committed the following illegal acts: the problematic
representation of facts; the lending of credit instead of money which is illegal [when
purported as loan] in and of itself and leads to problematic consideration. The
contract is NULL AND VOID “That Plaintiff is not entitled to recover the
possession of lot 19, Fairview Beach, Scott County, Minnesota according to the plat
thereof on file in the Register of Deeds office. That because of failure of a lawful
consideration the note and Mortgage dated May 8, 1964 are null and void.” — FIRST
BANK OF MONTGOMERY V Jerome Daly, CASE NO: 19144

"Any false representation of material facts made with knowledge of falsity
and with intent that it shall be acted on by another in entering into contract,
and which is so acted upon, constitutes 'fraud,' and entitles party deceived

"A loan may be defined as the delivery by one party to, and the receipt by another
party of, a sum of money upon an agreement, express or implied, to repay the sum with
or without interest." Parsons v. Fox 179 Ga 605, 176 SE 644. Also see Kirkland v.
Bailey, 155 SE 2d 701 and United States v. Neifert White Co., 247 Fed Supp 878, 879.
> “In the federal courts, it is well established that a national bank has not power to lend
its credit to another by becoming surety, endorser, or guarantor for him.’" FarMERS and
Miners Bank v. Bluefield Nat 'l Bank, 11 F 2d 83, 271 U.S. 669; "A national bank has
no power to lend its credit to any person or corporation . .. Bowen v. Needles Nat.
Bank, 94 F 925 36 CCA 553, certiorari denied in 20 S.Ct 1024, 176 US 682, 44 LED
637; “The doctrine of ultra vires is a most powerful weapon to keep private corporations
within their legitimate spheres and to punish them for violations of their corporate
charters, and it probably is not invoked too often . . . Zinc Carbonate Co. v. First
National Bank, 103 Wis 125, 79 NW 229. American Express Co. v. Citizens State
Bank, 194 NW 430; “A bank may not lend its credit to another even though such a
transaction turns out to have been of benefit to the bank, and in support of this a list of
cases might be cited, which-would look like a catalog of ships.” [Emphasis added]
Norton Grocery Co. v. Peoples Nat. Bank, 144 SE 505. 151 Va 195.

-18-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 19 of 34

to avoid contract or recover damages." Barnsdall Refining Corn. v. Birnam
Wood Oil Co.. 92 F 26 817; "Any conduct capable of being turned into a
statement of fact is representation. There is no distinction between
misrepresentations effected by words and misrepresentations effected by
other acts." Leonard v. Springer 197 Ill 532. 64 NE 301; "If any part of the
consideration for a promise be illegal, or if there are several considerations
for an unseverable promise one of which is illegal, the promise, whether
written or oral, is wholly void, as it is impossible to say what part or which
one of the considerations induced the promise." Menominee River Co. v.
Augustus Spies L & C Co., 147 Wis 559. 572; 132 NW 1122;"The contract
is void if it is only in part connected with the illegal transaction and the
promise single or entire." Guardian Agency v. Guardian Mut. Savings
Bank, 227 Wis 550, 279 NW 83; "It is not necessary for rescission of a
contract that the party making the misrepresentation should have known
that it was false, but recovery is allowed even though misrepresentation is
innocently made, because it would be unjust to allow one who made false
representations, even innocently, to retain the fruits of a bargain induced by
such representations." Whipp v.Iverson, 43 Wis 2d 166.

Ex dolo malo no oritur action: Maxim of Law in this matter. Out of fraud
no action arises; fraud never gives a right of action. No court will lend its
aid to a man who founds his cause of action upon an immoral or illegal act.

USURY

As a result of the artificially inflated “fair market values” utilized by LENDER
et al, its agents, servants and/or employees, to induce the borrower to sign the
mortgage documents, the effective yield now vastly exceeds the legal lending limit in
the State of Arizona, if the borrower pays in accordance with the mortgage and note
indentures. A quick review of the usury law in Arizona will reveal that while it has
been relaxed somewhat to accommodate predatory lending through credit cards and
payday loans, it remains somewhat stringent in connection with other loans and

allows the borrower to cancel the loan and collect damages.

SECURITY VIOLATIONS
Plaintiff, believing he is being granted a loan, was lead into issuing a private

unregistered negotiable instrument, the Note. A Promissory Note falls under Arizona

-19-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 20 of 34

Revised Statutes (A.R.S.) Title 47 Chapter 3 [UCC Article 3] because it is a
negotiable instrument, once it is securitized; it falls under A.R.S. 47 Chapters 8 & 9
[UCC Article 8] as a security. The lender illegally sold his unregistered negotiable
instrument. Deeds of trust are always registered as evidences of debt, notes are never
registered, and selling unregistered securities is an automatic right of rescission of the
original contract. The Plaintiff possesses entitlement rights and possessory rights to
the original Note - it is negotiable. Since compensation arising from the transaction
with this borrower was not disclosed to the borrower, the transaction lacked proper
disclosure and is subject to rescission, compensatory and punitive damages.

Common Law Fraud in the Inducement and Fraud in the execution of the
closing documents including but not limited to the settlement statement, the

mortgage and note.

ARIZONA CONSUMER FRAUD ACT

A.R.S. §44-1521 thru §44-1534: while the transaction clearly involves interstate
commerce, Arizona law provides for much the same remedies as described above for

unfair and deceptive lending and/or business practices.

TILA VIOLATIONS
TILA claims have been summarized in prior correspondence to the Defendants.
Because the transaction is not a pure first mortgage residential transaction, the TILA
exception for rescission does not apply and the Plaintiff therefore demands rescission

in addition to the above-stated claims.

RESPA VIOLAIONS
The Defendants failed to properly respond to the claims under the act and are

currently in violation.

-20-

27

28

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 21 of 34

RICO VIOLATONS

As stated above there were multiple parties in multiple states in a scheme
spanning virtually all continents in which false, misleading and non-conforming
statements were made to investors and borrowers alike, wherein LENDER et al acted
in concert with other “lenders” and investment bankers to artificially create the
appearance of higher market values for property and the false appearance of trends
that did not in actuality exist, but for the “free money” (secured under false pretenses)
pumped tactics whose objectives were to get the borrower’s signature without regard
for the consequences to either the borrower or the investor, creating and selling
unregistered securities that constitute fraud and money laundering. (explained below)

CONCLUSION

Under Arizona Revised Statutes A.R.S. §47-3303 “Value and Consideration (a)
An instrument is issued and transferred for value if: (1) the instrument is issued or
transferred for a promise of performance, to the extent the promise has been

performed...

(b)...The drawer or maker of an instrument has a defense if the instrument is
issued without consideration. If an instrument is issued for a promise of performance,
the issuer has a defense to the extent performance of the promise is due and the
promise has not been performed.”

The alleged lender/mortgagee, MERS, converted The Note and negotiated it for
an undisclosed and unknown sum, then funded the alleged loan with the funds from
the sale of the Note. There was no loan made. The pretender lender took Plaintiff's
Note, converted it, and sold it to fund the alleged loan. So in effect, without full
disclosure and consideration, the Plaintiff funded his own transaction by being
deceived into issuing what in reality was a negotiable security. That scenario is
grounds for immediate rescission under A.R.S. §47-3305 Defenses and Claims in

Recoupment at (a) (1) (iii) “fraud that induced the obligor to sign the instrument with

-21-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 22 of 34

neither knowledge nor reasonable opportunity to learn of its character or its essential
terms.”

Based on the problems detected in the subject transaction, as of August 30,
2011 when BANK OF AMERICA, signed the Certified Mail Return Receipt for the
Notice mailed to BANK OF AMERICA, (See EXHIBIT “L”) I have RESCINDED
the transaction from the beginning. As the original funds transferor, THE
PLAINTIFF _ IS MAKING A CLAIM FOR RECOUPMENT OF HIS

ORIGINAL NOTE, ALL MONIES MADE FROM THE SALE OF SAID NOTE
TO 3°? PARTIES (BASED ON PSA_ RECORD) and all funds paid by him since

the beginning, under A.R.S. § 47-3306 and the UCC.

IX
PLAINTIFF NOTE TO THE HONORABLE COURT

Plaintiff is aware of more crimes and violation committed by the Defendants
and is in possession of extensive record: Receipts, Recorded Complaints to the SEC,
Comptroller of Currency, USPS, FTC, Attorney General, Notary Public Complaints,
Recession of Signature, due to fraud, submitted to Defendants via certified mail,
Revocation of Power of Attorney, Documents of Acquiescence to Fraud by the
Defendants, Phone calls Records, Memorandums and Case Laws in support of his
claims BUT in his desire NOT TO PLACE THIS HONORABLE COURT UNDER
EXCESSIVE BURDEN he is submitting only the evidence that he deems sufficient

for rendering of relief and restitution.

However, Plaintiff reserves his right to amend this complaint and to present
more evidence during Discovery (interrogatory) as warranted by further evidence and
fact-finding. He will not wave his right to trial by jury of his peers OR his right to
participate in the selection of jurors. Plaintiff strongly believes that the Defendants
named here—innocent until proven guilty—are responsible for turning his American

Dream (home ownership) into a nightmare along with millions of other Americans.

-22-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 23 of 34

With their actions or omissions they are (if found guilty) liable for so many shattered
families and lost opportunities of life and pursuit of happiness, (if found guilty)
accountable for the grim outlook of our deteriorating economy and the pending
bankruptcy of many major cities, deprived from millions of dollars of recording fees.
Through fraud, fanned by greed, they are ramping up this nation like a wild fire and
will not stop until they devour us all or are put down by equal or stronger [LEGAL]
force. The lawful force vested in the people of these united States of America and the
limited delegated authority given to this Honorable Court to adjudicate and hold
tribunal along with the jurors selected by relevance to this matter.

The Plaintiff declares to this honorable court that he has exhausted all means
known to him to settle or pay the alleged debt with the Defendants before invoking
this court’s jurisdiction. All Defendants were Served by a Court Processor with
Notice to Sue and opportunity to Settle (see EXHIBIT “F”) prior to this VERIFIED
ACTION-AT-LAW TO QUIET TITLE AND MONEY DAMAGES, in
compliance of A.R.S. § 12-1103 (b).

X
EXHIBITS TO COMPLAINT

Plaintiff has filed in this matter a separate document entitled “EXHIBITS TO
COMPLAINT”. The exhibits therein are incorporated and made a part hereof by way
of reference as “Exhibit A-Z”.

XI
REQUEST FOR JUDICIAL NOTICE

Plaintiff moves this Honorable Court to take Mandatory Judicial Notice
(Judicial Notice of Adjudicative Facts 201(D)) of the following:
FEDERAL RULES OF CIVIL PROCEDURE

The United States Supreme Court, in Haines v Kerner 404 U.S. 519
(1972), said that, all Pro Se litigants must be afforded the opportunity

-23-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 24 of 34

to present their evidence and that the Court should look to the
substance of the complaint rather than the form.

In Platsky v CIA, 953 F.2d 26 (2nd Cir. 1991), the Circuit Court of
Appeals proclaimed that, the District Court should have explained to
the litigant proceeding without a lawyer, the correct form to the
plaintiff so that he could have amended his pleadings accordingly.
Plaintiff respectfully reserves the right to amend this ACTION-AT-
LAW.

Under the Federal Rules of Evidence 1002 and 1003 governing the
admissibility of duplicates, any photocopies brought in as evidence are
considered to be forgeries. It is unfair to admit a photocopy in the
place of an original as it is possible that there is information contained
within the original that is not in a photocopy, specifically the only
legally binding chain of title to the Promissory Note.

Under Uniform Commercial Code - ARTICLE 3 -§3-308, all signatures
presented that are not on an original format (with the original wet ink
signature) [are] hereby denied and [are] inadmissible.

MEMORANDUM OF LAW REGARDING AFFIDAVITS

TRUSLOW v. WOODRUFF 60 Cal Rptr 304, “When no facts are filed in
opposition..., trial court is entitled to accept as true the facts alleged in
movant’s affidavits if such facts are within affiant’s personal
knowledge and are ones to which they could competently testify.
West’s Ana Code.Civ. Proc, section 437c.

LEO F. PIAZZA PAVING CO. v. FOUNDATION. ETC. Cal.Rptr. 265,
“...failure to file an affidavit cannot be remedied by resort to pleadings;

adverse party must file affidavit in opposition showing sufficient facts

to substantiate their allegations.” (Emphasis added)

LELTER v. SELTZER, 80 Cal.rptr. 686, “Where party against whom
motion for summary judgment is made files no counter affidavit, trial
court is entitled to accept as true allegations of movant’s affidavit and

must assume that other party either cannot dispute truth of statements
in such document or cannot controvert them.” (Emphasis added).

-24-

Case 2:13-cv-02155-DLR Document1_ Filed 10/23/13 Page 25 of 34

FEDERAL RULES OF EVIDENCE

(FRE) § 902 1(B) EVIDENCE THAT IS SELF-AUTHENTICATING
The following items of evidence are self-authenticating; they require no
extrinsic evidence of authenticity in order to be admitted: (1) Domestic
Public Documents That Are Sealed and Signed. A document that
bears:... (B) a signature purporting to be an execution or attestation.

STANDING TO FORECLOSE

“The doctrine of standing is designed to preclude persons who have no
interest in a controversy from bringing suit.” Raintree Homes, Inc. v.
Village of Long Grove, 209 Ill. 2d 248, 262 (2004). A party’s standing to
sue must be determined as of the time the suit is filed. Village of
Kildeer v. Village of Lake Zurich, 167 Ill. App. 3d 783, 786 (1988). “[A]
party either has standing at the time the suit is brought or it does not.”
Id. An action to foreclose upon a mortgage may be filed by a
mortgagee, i.e., the holder of an indebtedness secured by a mortgage,
or by an agent or successor of a mortgagee. See Mortgage Electronic
Registration Systems, Inc. v. Barnes, 406 Ill. App. 3d 1, 7 (2010); see
also 735 ILCS 5/15-1208, 15-1504(a)(3)(N) (West 2008). Lack of
standing to bring an action is an affirmative defense, and the burden of
proving the defense is on the party asserting it. Lebron v. Gottlieb
Memorial Hospital, 237 Ill. 2d 217, 252 (2010).

In Adams v. Madison Realty & Dev., Inc., 853 F.2d 163 (3d Cir. 1988),
the plaintiffs executed promissory notes which, after a series of
transfers, came into the defendant’s possession. At issue was whether
the defendant was the rightful owner of the notes. The court held that
the defendant was not entitled to holder in due course status because
the endorsements failed to meet the UCC’s fixation requirement. Jd. at
168-69. The court relied on UCC section 3-202(2) [A.R.S. € 47-3204]:
“An indorsement must be written by or on behalf of the holder and on
the instrument or on a paper so firmly affixed thereto as to become a
part thereof.” Id. at 165. Since the endorsement page, indicating that
the defendant was the holder of the note, was not attached to the note,
the court found that the note had not been properly negotiated. Id. at
166-67.

In Deutsche Bank National Trust Company v. Elesh, No. 12 C 3644
(USDC Illinois, May 2013) For these reasons and those stated in open
court, the Court finds that plaintiff has failed to establish that: (1) the

-25-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 26 of 34

purported original promissory note is authentic; (2) the note was
properly indorsed by an agent of the obligee; or (3) that, when plaintiff
filed this suit, it possessed or owned the original promissory note.
Because plaintiff has failed to establish that it was injured by
defendant’s default on the note, it does not have standing to pursue this
suit. Also see BNY Mellon Trust Co. v. Shaffer (Supreme
Court), BAC Home Loans Servicing, LP vy. Mapp, (2013
Ohio), Feltus v U.S. Bank, New York Mortgage Trust,
Inc. v.Adem Dasdemir (2012 NY), et all

STATUS OF PRO SE LITIGANT

The Court shall take judicial notice of the fact that Counterclaimant is
without counsel, is not schooled in the law and legal procedures, and is
not licensed to practice law. Therefore his pleadings must be read and
construed liberally. Haines v. Kerner, 404 US at 520 (1980); Birl v.
Estelle, 660 F.2d 592 (1981). Further the court has a responsibility and
legal duty to protect any and all of the accused constitutional and
statutory rights. United States v. Lee, 106 US 196,220 [1882] Also:
Platsky v. CIA; Anastasoff v. U.S.

“Allegations such as those asserted by petitioner, however inartfully
pleaded, are sufficient... which we hold to less stringent standards than
formal pleadings drafted by lawyers." Fortney v. U.S., C.A.9 (Nev.)
1995, 59 F.3d 117. "The United States Supreme Court, in Haines v
Kerner 404 U.S. 519 (1972) stated that all litigants defending
themselves must be afforded the opportunity to present their evidence
and that the Court should look to the substance of the complaint rather
than the form, and that a minimal amount of evidence is necessary to
support contention of lack of good faith."

"Henceforth the writ which is called Praecipe shall not be served on
any one for any holding so as to cause a free man to lose his court."
Magna Carta, Article 34 Praecipe - An original writ drawn up in the
alternative commanding the defendant to do the thing required. An
order to show cause.

An act of the court shall prejudice no man. Jenkins' Eight Centuries of
Reports, 118; Brooms Legal Maxims, Lond. ed. 115; 1 Strange's
Reports, 126; 1 Smith's Leading Cases, 245-255; 12 English Common
Bench Reports by Manning, Granger, & Scott, 415T

- 26 -

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 27 of 34

XII
CAUSES OF ACTION
COUNT I—FDCPA

Plaintiff incorporates by reference the preceding allegations as if fully set forth

herein.

Defendants’ aforementioned conduct violated the FDCPA. Neither Bank of
America or SPS responded to lawfully presented validation of debt via Proof of Claim
and they continued to harass the Plaintiff under Sec. 806 of FDCPA, in violation of
Sec. 811(a)(1) of FDCPA, while attempting to collect and modify discharged debt
(Bankruptcy Case No. 2-09-bk-00043-CGC), and are liable under FDCPA
813(2)(A)(B)G3).

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Adjudging that Defendant violated the FDCPA;

b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k;

c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;

d) Awarding Plaintiff reasonable legal fees and costs incurred in this action;

e) Awarding Plaintiff any pre-judgment and post-judgment interest as may be

allowed under the law; and

f) Awarding such other and further relief as the Court may deem just.

COUNT II— ACTION TO QUIET TITLE OF PRIVATE LAND
Plaintiff incorporates by reference the preceding allegations as if fully set forth

herein.

Defendants’ aforementioned conduct violated the UCC 3-603 and UCC § 3-301
PETE (“person entitled to enforce the note”) under the Deed of Trust, comprising
recorded default under the Rules of Civil Procedures when the Plaintiff, owner of the
estate in controversy, offered to pay in cash the balance of the alleged loan secured by
the Deed of Trust in exchange for the physical instrument that secures it (The Note) in

order to avoid future extortions under the same alleged instrument, UCC § 3-309,

-27-

Case 2:13-cv-02155-DLR Document1 _ Filed 10/23/13 Page 28 of 34

Morgan v. Farmers Merchs. Bank, 856 So. 2d 811, 819 (Ala. 2003). The defendants
acquiescent that they are not HOLDER-IN-DUE-COURSE, according to ARS. §
47-3302 & UCC 3-3-2, or have any standing! to bring a foreclosure sale against the
Plaintiff, and they have tacitly admitted that are attempting to take Plaintiff’s house
through theft by deception or larceny by trickery, both of which are felonies.
WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Enter a judgment for a Quiet Title Action and Restitution in favor of
Plaintiff; and

b) The Plaintiff motions this Honorable Court to Order all parties with an
alleged legal claim to stipulate and provide Proof of Claim against the

above-mentioned Trust Deed, or else release their alleged claim.

COUNT II— FRAUD

Plaintiff incorporates by reference the preceding allegations as if fully set forth
herein. .

Defendants’ aforementioned conduct violated countless laws by offering to
Plaintiff purported loan’, leading him into issuing a private unregistered negotiable
instrument, the Note. A Promissory Note falls under Arizona Revised Statutes
(A.R.S.) Title 47 Chapter 3 [UCC Article 3] because it is a negotiable instrument,
once it securitized; it falls under A.R.S. 47 Chapters 8 & 9 as a security [USS Article

(See U.S. Bank National Association v. Ibanez, 458 Mass. 637 (2011); HSBC Bank
USA, N.A. v. Haro, Suffolk County District Court, Chelsea Division, Case No.
201014SU000264, 6/15/2011; and Eaton v. Federal National Mortgage Association,
Suffolk County Superior Court, Civil Action No. 11-1382, 6/17/201 1)

2 «4 loan is the creation of debt by the lender’s agreement to pay MONEY TO THE
DEBTOR” See: Maine Consumer Credit Code 9-A, Sec. 1.301 (23)(a)(1), “A loan may
be defined as the delivery by one party to, and the receipt by another of a sum of
money.” See: Kirkland v. Bailes, 155 S.E. 2d 701. Yet the Federal Reserve Bank of
Chicago says, in Modern Money Mechanics, that banks make loans by promising to
lend. However, a promise to lend cannot be enforced. In order to constitute a loan,
money must be loaned, but banks make loans by promising to lend, and promises to
lend cannot be enforced, 5 MRSA.

- 28 -

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 29 of 34

8,9]. The lender illegally sold his unregistered negotiable instrument. Deeds of Trust
are always registered as evidences of debt, Notes are never registered; selling
unregistered securities is an automatic right of rescission of the original contract. The
Plaintiff possesses entitlement rights and possessory rights to the original Note - it is
negotiable. Since compensation arising from the transaction with this borrower that
was not disclosed to the Plaintiff, the transaction lacked proper disclosure and is
subject to rescission, compensatory and punitive damages.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Award full satisfaction of the mortgage and note plus treble damages for the
principle of the note to the Plaintiff:

b) Award full restitution of all payments made by the Plaintiff to the
defrauding parties back to the Plaintiff, plus interest; and

c) Award Plaintiff treble proceeds (DUE TO FRAUD) of all money, credits
and dividends generated by selling The Note; Insuring The Note;
Securitizing The Note; Trading The Note as a security according to PSA,

from the day of creation to the day when settlement is reached.

COUNT IV— ANGUISH, HEALTH, REPUTATION
Plaintiff incorporates by reference the preceding allegations as if fully set forth

herein.

Defendants’ aforementioned conduct violated Plaintiff's welfare; family and
personal life, causing him to lose millions of dollars of income while having to defend
himself from the predatory scheme conspired by the Defendants; coerced in one
accord to steal his house by deception. As a result the Plaintiff suffered mental
anguish, ulcers, constant headaches, depression, sleep apnea, heart palpitation, high
blood pressure, multiple micro-strokes, skin rush and alcoholism. His credit and
ability to borrow were gravely damaged and his reputation in society as a contractor

and businessman was decimated.

-29 -

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 30 of 34

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) Award $1000.00 a day for every day in which the Plaintiff had to suffer
under the crushing jaws of the Defendants, protecting his house from grand
theft, being disable to freely pursue life, liberty and happiness;

b) Award $1000.00 a day for every day of lost gainful employment;

c) Award $5,000,000.00 for the caused Anguish and health disruption;

d) Award $5,000,000.00 for loss of reputation and defamation of character to
his friends and family and his standing in the community; and

e) Award Right violation, Amendment V and XIV from the Bill of Rights as

this Honorable Court deems necessary.

COUNT V— MAIL FRAUD
Plaintiff incorporates by reference the preceding allegations as if fully set forth

herein.

Defendants’ aforementioned conduct violated the United States Postal Service
Act in their attempt to unlawfully obtain money or valuables from the Plaintiff. There
are two elements to mail fraud: (1) a scheme or artifice to defraud; and (2) a mailing.
to carry out the scheme. Pursuant to U.S.C.A 18 § 1341 the Defendants participating
in a scheme or artifice to defraud the Plaintiff title of his private property. For the
reasons cited above, the false documents they have devised and mailed in an

intentional scheme to obtain property by fraud they are liable to 18 U.S.C.A § 1341.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) He will willingly provide all of his record to State and Federal authorities in
order to carry a lawful persecution against the Defendants, who willingly

violated the aforementioned law; and

-30-

Case 2:13-cv-02155-DLR Document 1 Filed 10/23/13 Page 31 of 34

b) He will willingly testify in order to assist State and Federal authorities in
order to carry a lawful persecution against the Defendants, who willingly

violated the aforementioned law.

COUNT VI— RICO
Plaintiff incorporates by reference the preceding allegations as if fully set forth

herein.

Defendants’ aforementioned conduct along other multiple parties in multiple
states are part of well rooted scheme, spread around the world in which false,
misleading and non-conforming statements were made to investors and borrowers
alike, wherein LENDER et al acted in concert with other “lenders” and investment
bankers to artificially create the appearance of higher market values for property and
the false appearance of trends that did not in actuality exist, but for the “free money”
(secured under false pretenses), pumped tactics whose objectives were to get the
borrower’s signature without regard for the consequences to either the borrower or the
investor. Unscrupulously, they have defrauded homeowners and investors alike from
trillions of dollars.

WHEREFORE, Plaintiff prays for relief and judgment, as follows:

a) He will willingly provide all of his record to State and Federal authorities in
order to carry a lawful persecution against the Defendants, willingly violated
the aforementioned law; and

b) He will willingly testify in order to assist State and Federal authorities in
order to carry a lawful persecution against the Defendants, willingly violated

the aforementioned law.

-31-

Case 2:13-cv-02155-DLR

Document 1 Filed 10/23/13 Page 32 of 34

XIII

REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter a

judgment ordering the following remedies:

a) Declare the subject Trust Deed or Mortgage to be null and void;

b) Declare the subject Promissory Note to be declared fully discharged;

c) For a declaration and determination that Plaintiff is the rightful holder,

owner in Alodium of title to the subject private land and that Defendants,

herein, and each of them, be declared to have absolutely no estate, right,

title, interest, use or control in said private land adverse to the Plaintiff:

d) For prohibitive relief that defendants be enjoined from making any further

claim to the subject private land and house adverse to plaintiff, by any legal

action, foreclosure, or otherwise;
e) For money damages as per CAUSES OF ACTION;
f) For PUNITIVE damages;

g) For costs of suit herein occurred; and

h) Granting any such other relief as this Honorable Court deems necessary

and appropriate.

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Ivaylo Tévetanov Dodev, ARR, Pro Se Plaintiff
6312 South 161 Way, Gilbert, Arizona
(480) 457-8888 Phone

-32-

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 33 of 34

VERIFICATION

I, the undersigned, attest and declare that:

I am the Plaintiff in the foregoing document entitled, VERIFIED ACTION-AT-
LAW TO QUIET TITLE AND DAMAGES UNDER FDCPA AND BREACH
OF CONTRACT AND RICO.

I have read and know the contents thereof and certify that the matters stated
therein are facts of my own knowledge, except as to those matters, which are therein
stated upon my information or belief, and as to those matters - I believe them to be
correct.

I declare under the penalty of perjury of the Laws of Arizona that the foregoing
is correct and complete to the best of my knowledge, information, and belief, and that
this verification is executed in Phoenix, Arizona and is dated this 23 day of the 10

month, in the year two thousand and thirteen.

Lolo Lalit’

Ivaylo Tsvetanov Dodev, ARR, Plaintiff
6312 South 161 Way, Gilbert, Arizona
(480) 457-8888 Phone

Case 2:13-cv-02155-DLR Document1 Filed 10/23/13 Page 34 of 34

CERTIFICATE OF SERVICE

ORIGINAL and ONE COPY plus SUMMONS for each defendant delivered to
The United States District Court, for The District of Arizona on this 23th day of

October, 2013.

I HEREBY CERTIFY that a true and correct copy of the above MOTION has
been furnished by certified U.S. Mail on this 23th day of October 2013:

TO: | .

RECONTRUST COMPANY, N.A., AND

JAMES F. TAYLOR, and/or his successor, in his/their individual and official capacity
7105 Corporate Drive

Mail Stop: TX2-973-03-19

Plano, TX 75024-9818

BANK OF NEW YORK MELLON, N.A., AND

GERALD HASSELL, and/or his successor, in his/their individual and official capacity
Bank of New York Mellon, One Wall Street

New York, NY 10286

SELECT PORTFOLIO SERVICING, INC., AND

MATT HOLLINGSWORTH, and/or his successor, in his/their individual and official
capacity

3815 South West Temple

Salt Lake City, UT 84115

BANK OF AMERICA, N.A., AND
BRIAN T. MOYNIHAN, and/or his successor, in his/their individual and official capacity

Bank of America Corporation
/

100 N. Tryon St.

Charlotte, NC 28255
Ivaylo Tsvetanov Dodev, Plaintiff
6312 South 161* Way, Gilbert, Arizona
(480) 457-8888 Phone

